Case 16-43070-mxm7 Doc 10 Filed 08/08/16             Entered 08/08/16 05:34:02         Page 1 of 21




Richard W. Ward
6860 N. Dallas Pkwy., Ste. 200
Plano, TX 75024
Telephone: 214-220-2402
Proposed Attorney for the Debtor
       In Possession

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

IN RE:
         Universal Nutrients, LLC                     Case no. 16-43070-MXM-11
                Debtor in Possession                  (Chapter 11)

   EMERGENCY MOTION FOR AN ORDER (I) AUTHORIZING THE DEBTOR TO
   OBTAIN POST-PETITION FINANCING PURSUANT TO 11 U.S.C. §§ 364(c) AND
     364(d), (II) AUTHORIZING THE DEBTOR’S USE OF CASH COLLATERAL
   PURSUANT TO 11 U.S.C. § 363(c); (III) GRANTING ADEQUATE PROTECTION
    PURSUANT TO 11 U.S.C. § 361; AND (IV) SCHEDULING A FINAL HEARING
                    PURSUANT TO BANKRUPTCY RULE 4001(c)

TO: THE HONORABLE MARK X. MULLIN, UNITED STATES BANKRUPTCY
    JUDGE:

         COMES NOW the debtor-in-possession, Universal Nutrients, LLC (the “Debtor”) who

hereby moves (the “Motion”) this Court for entry of interim and final orders pursuant to sections

361, 362 and 364 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., as amended, the

“Bankruptcy Code”) and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) (i) authorizing the Debtor to obtain post-petition financing; (ii)

authorizing the Debtor to use cash collateral on the terms and conditions set forth herein; (iii)

granting adequate protection; scheduling and approving the method of notice of the final hearing

on the Motion (the “Final Hearing”); and (iv) providing related relief. In further support of this

Motion, the Debtor respectfully represents:

                    JURISDICTION AND PROCEDURAL BACKGROUND



Motion to Approve DIP Financing, Page 1 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 2 of 21




       1.         This Court as jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.         Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.         The statutory and legal predicates for the relief requested herein are sections 361,

362 and 363 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, and 6004.

       4.         On August 5, 2016 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

commencing this case (the “Case”).

       5.         Since the Petition Date, the Debtor has continued to operate and manage its

business as debtor-in-possession pursuant to Bankruptcy Code §§ 1107(a) and 1108.

       6.         As of the date of this Motion, no official committee of unsecured creditors has

been appointed.

                                     STATEMENT OF FACTS

 A.      Business Overview

       7.         The Debtor is a Texas limited liability company engaged in the business under

the tradename of Uni*Well of manufacturing and developing various nutraceutical products,

OTC pharmaceuticals, and specialty biochemicals with expertise in development and

fulfillment of productivity products, functional shots, sports nutrition, nutrient deficiency

products, elderly nutrition, children's nutrition, gender-specific nutrition, energy products, anti-

stress products, anti-aging products, internal beauty products, and condition-specific products in

the form of liquids, powders, gels, tablets, and capsules. The Debtor has its principal office at

14801 Sovereign Dr., Fort Worth, Texas 76155 and is a wholly owned subsidiary of Universal

Group Holdings, LLC, a Texas limited liability company (“UGH”).



Motion to Approve DIP Financing, Page 2 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02         Page 3 of 21




 B.      Secured Financing Loan Structure

         8.      The Debtor, as borrower, is liable to Exeter International, LLC (“Exeter”) under

that Loan Agreement between Exeter and Universal Group Holdings, LLC (“UGH”) dated April

3, 2015 (the “Credit Agreement”) for loan advances in amounts up to $15,000,000. The Debtor

was a guarantor of the debts under the Credit Agreement and the recipient of most, if not all

funds advanced under the Credit Facility. The Debtor secured its liability to Exeter under the

Credit Agreement by granting Exeter a first lien on all assets of the Debtor. Exeter perfected its

lien on the Debtor’s assets by filing a UCC1 Financing Statement. The outstanding balance of

the loan is approximately $13,000,000. The Credit Agreement is a revolving loan, but the draw

provisions under the Credit Agreement were not intended to function with weekly draws against

the credit.

         9.      The Credit Agreement provides the Debtor an asset-based revolving credit

facility (the “Credit Facility”) secured by a lien on all of the assets of the Debtor.

         10.     For the Credit Facility to properly function as a DIP Loan, the terms for draws

under the Credit Facility need to amended to be consistent with weekly draw requests and

advances. The Credit Facility will be amended according to DIP Term Sheet attached hereto to

provide for advances up to $1,960,000 according the Budget prepared by the Debtor.

         11.     Nothing in this Motion or within the relief requested is intended to affect

the loans, security interests, lien positions or rights of EXETER or other third party

lender/loan/financing parties that existed on the date of filing of this Bankruptcy Case.

 C.      Events Leading to Bankruptcy

         12.     The Debtor initially raised approximately $9,000,000 in equity and an additional

$13,000,000 in funds from Exeter. The projected product creation and sales budgets were



Motion to Approve DIP Financing, Page 3 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02        Page 4 of 21




understated in amounts required to achieve the objections and overstated in the amount of sales

that would be generated and the timing of the sale. Ultimately sales below the initial forecast

amounts and acquisitions of inventory and equipment coupled with other business expenses

depleted the liquid assets of the Debtor and the resulting cash flow was inadequate for the Debtor

to pay its loans and operating expenses. Exeter declared a default and the Debtor was unable to

find unsecured credit, obtain additional loans, or raise equity capital.

                                      RELIEF REQUESTED


 A.      The Debtor’s Immediate Need for Post-Petition Financing and Use Cash Collateral

        13.      The Debtor seeks authority to maintain and continue the current Credit Facility

with EXETER, and the authority to use its cash collateral within the confines and workings of

the Credit Facility. Without the use of Cash Collateral and the funds to be obtained under the

Credit Facility, the Debtor lacks sufficient liquidity to meet ongoing obligations and will be

unable to continue operations throughout this Case. Any interruption in the Debtor’s business

operations would be devastating and would likely result in its inability to continue as a going

concern and a consequent loss of significant value with respect to estate assets. As part of the

consideration for agreeing to the use of cash collateral and continued availability under the

Credit Facility as a post-petition facility, the Debtor has consented that all Obligations under the

Credit Agreement will become rolled up into a post- petition facility described below, which will

convert the pre-petition outstanding balances on the notes issued under the Credit Agreement to

become post-petition loans. The other terms that might be of most interest to creditors and

parties in interest are set forth below.

         14.     The Debtor requires immediate access to the Credit Facility as amended by the

DIP Term Sheet and use of its cash collateral to assure continuity of its business operations.



Motion to Approve DIP Financing, Page 4 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02        Page 5 of 21




Further, the Debtor submits that the requested post-petition loans and use of cash collateral

should be approved by the Court as the most advantageous and least adversarial method of

proceeding.

 B.      The Debtor’s Seek Authority to Obtain Post-Petition Financing

         15.     The Debtor has determined in the exercise of its sound business judgment that it

needs and should amend the Credit Facility as stated in the DIP Term Sheet (referred to herein as

the “Post-Petition Credit Facility”). Given the indisputable need for post-petition financing and

the need to seek immediate relief under the Bankruptcy Code in order to protect the going

concern value of the Debtor’s business and assets, the Debtor, as noted, approached EXETER to

discuss continuing the Credit Facility as post-petition financing. Following good faith

negotiations, the Debtor has reached an agreement with EXETER regarding maintenance of the

Credit Facility on agreed terms (as set forth herein) and extending it to be effective as a post-

petition facility in accordance with and subject to the agreements set forth herein and that certain

the DIP Term Sheet and within the amended credit agreement to be executed on an interim basis

if the Court approves the interim relief requested herein, which will become final and executory

upon final approval if granted by the Court. Additionally, the Debtor has agreed to negotiate an

amended credit agreement reflecting the terms of the DIP Term Sheet and providing a legally

enforceable contract (“Amended Credit Agreement”).

         16.     The Debtor believes that the Post-Petition Credit Facility represents the best

source of post-petition financing available to it at this time. As discussed herein, the Debtor

considered and pursued alternative debtor-in-possession financing. While these discussions

presented certain alternatives as regards financing, the Debtor believes that the Post Petition

Credit Facility is the best opportunity to preserve the going concern value of the business,



Motion to Approve DIP Financing, Page 5 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 6 of 21




recognizing the secured position of EXETER and the willingness of EXETER to allow the

Debtor to maintain the Line of Credit. Without access to the Post-Petition Credit Facility, the

Debtor would be unable to continue business operations in its present capacity which could

jeopardize its going concern value.

         17.     As mentioned, and of importance to parties in interest and the Court, the

consideration of the financing to be provided includes a full “roll up” of the pre-petition debt

owed to EXETER into post-petition debt under the Amended Credit Agreement, upon final

approval of the financing and use of cash collateral. The effect of the full “roll up” is that all

pre-petition debt to EXETER will be converted to post-petition debt under the Amended Credit

Agreement, as though all amounts due as of the petition date had been lent post-petition. The

Debtor points out this feature, as the effect will be to convert some $13 million in pre-petition

debt to a like amount of post-petition debt as part of the consideration of granting a post-petition

revolving operating loan with availability of approximately $1,960,000.00.

         18.     Further, collateral for the Amended Credit Agreement (“Post-Petition

Collateral”) will include all bankruptcy-related causes of action and any recovery thereon,

including but not limited to all causes of action under Chapter 5 of the Bankruptcy Code,

including, but not limited to, Section 506(c), Sections 544 through 550, and Section 553 or other

applicable law, all to secure what as of final approval will be a post-petition loan of the entirety

of amounts due under the Credit Agreement and any additional amounts lent post-petition under

the Amended Credit Agreement.

         19.     The Debtor represents that EXETER is and will be adequately protected with

respect to the Credit Facility by the Pre-Petition Collateral and the Post-Petition collateral and by

the agreements herein and within this Motion whereby EXETER will maintain all Pre-Petition



Motion to Approve DIP Financing, Page 6 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 7 of 21




Lender Liens and the Debtor shall grant EXETER replacement liens and maintenance of and

lien rights on post-petition generated property that would otherwise be defined as Pre-Petition

Collateral under the Credit Facility. Therefore, as an initial matter, adequate protection provided

herein will, along with the proposed Post-Petition Credit Facility, provide EXETER with

adequate protection of its Pre-Petition Lender Lien upon the Pre-Petition Collateral.

Accordingly, the Debtor has met the requirements of Bankruptcy Code § 364(d). Without the

financing requested herein, it is likely that the assets of the Debtor would have to be liquidated

either outside of bankruptcy through foreclosure or through a chapter 7 case. Either alternative,

the Debtor believes, would cause a precipitous decline in the value of the assets and operations.

         20.     Further, EXETER shall be granted a first priority lien and security interest in, to

and upon any accounts, work-in-progress, inventory or other collateral as described within and/or

granted under the Credit Facility that might be generated post-petition and also shall obtain liens

in, to and upon all bankruptcy-related causes of action and any recovery thereon, including but

not limited to all causes of action under Chapter 5 of the United States Bankruptcy Code,

including, but not limited to, Section 506(c), Sections 544 through 550, and Section 553 or other

applicable law, and as well any and all commercial tort actions not specifically made part of the

Pre-Petition collateral, with all such post-petition property to be deemed “Post-Petition

Collateral” subject to the Post-Petition Lien under and securing the Amended Credit Agreement

and al loans thereunder, including without limitation the Post-Petition Revolving Facility. Any

extensions of credit under the Post-Petition Credit Facility (and any of the Obligations under the

Amended Credit Agreement) shall be secured by both the Pre-Petition Collateral and the Post-

Petition Collateral, without the necessity of any further collateral or security filings by EXETER,

with all filings creating the Pre- Petition Liens to constitute perfection of the Post-Petition Liens




Motion to Approve DIP Financing, Page 7 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02          Page 8 of 21




in, to and upon the Pre and Post- Petition Collateral.

         21.     EXETER has agreed that any party in interest with standing to commence a

contested matter or adversary proceeding to object to or challenge the validity of the Credit

Agreement and the Pre-Petition Liens by the forty-fifth (45th) days following entry of the Final

Order (the “Challenge Period”). Absent any timely objection, the lien finding shall

automatically be final at the end of the Challenge Period.

         22.     EXETER has also demanded and shall be granted a super-priority administrative

claim under Section 364(c)(1) of the Bankruptcy Code to the extent provided by Section 507(b)

of the Bankruptcy Code.

         23.     The Debtor and EXETER agree that the term of the Line of Credit under the

Post- Petition Credit Facility, and also the maturity of the Amended Credit Agreement shall be

the earliest to occur of the following dates: (a) the closing date of the sale of all or substantially

all of the assets of the Debtor pursuant to Section 363(b), (d) and (f) of the Bankruptcy Code

(the “363 Sale”) or (b) the effective date of a confirmed plan of reorganization or liquidation

that provides for indefeasible payment in full, in cash of all obligations under the Amended

Credit Agreement or otherwise acceptable to EXETER. Additionally, the Amended Credit

Agreement (including the Credit Facility and the Post-Petition Credit Facility) termination events

shall include (i) the appointment of a trustee in these Cases, (ii) the dismissal or conversion of

these Cases, (iii) the entry of an order by the Bankruptcy Court granting relief from the

automatic stay permitting foreclosure of any assets of the Debtor with a value in excess of

$100,000, and (iv) the making of any Debtor proposal to the Bankruptcy Court for the sale of all

or substantially all of any of its respective assets not approved by EXETER.

 C.      The Debtor’s Seek Authority to Use Cash Collateral



Motion to Approve DIP Financing, Page 8 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02        Page 9 of 21




         24.     The Debtor seeks (a) authorization to use its cash collateral in accordance with

the terms and conditions set forth herein and in accordance with the proposed budget (the

“Budget”) a copy of which is attached hereto as EXHIBIT A, which is also the budget that

governs and projects availability under the Post-Petition Credit Facility; (b) authority to use Cash

Collateral on a final basis in accordance with the proposed Budget and Final Order; and (c)

granting of adequate protection to EXETER as regards the Pre-Petition Collateral pursuant to

Bankruptcy Code §§ 361 and 363(c), as described herein, to the extent that EXETER held the

Pre- Petition Lender Liens on the Pre-Petition Collateral, including without limitation cash

collateral or the proceeds of collateral that would be cash collateral.

         25.     As noted, the Debtor has an immediate need to use cash collateral, including

cash proceeds, to continue the operation of its business and to preserve the value of the business

as a going concern. Without such funds, the Debtor will not be able to pay costs and expenses,

including, but not limited to, wages, salaries, rent, professional fees, and general and

administrative operating expenses that arise in the administration of these Case and in the

ordinary course of the Debtor’s business.

         26.     The Debtor must be able to use cash collateral to continue its business operations

on an uninterrupted basis. The Debtor requests interim authorization to use cash collateral in

accordance with the terms and conditions set forth herein and in accordance with the proposed

Budget until a final order granting further use of cash collateral can be entered. The Debtor is

without sufficient funds to operate for fourteen or more days until a final hearing on this Motion

can be held. The Debtor’s inability to timely pay the costs and expenses set forth herein will

result in immediate and irreparable harm to the Debtor. Because the Debtor’s request for interim

authorization seeks the use of only that amount of cash collateral as is necessary to avoid




Motion to Approve DIP Financing, Page 9 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 10 of 21




 immediate and irreparable harm to the value of its assets pending a final hearing, its request

 complies with Bankruptcy Rules 4001(b)(2) and 6003.

          27.     The Budget itemizes the sources and uses of cash and provides a projection of

 cash receipts and expenditures. The Budget includes business expenses that are reasonable and

 necessary and that must be paid in order to continue the Debtor’s business until such time as a

 final hearing on the Motion can be held. The Budget shall not vary by more than fifteen percent

 (15%) for each week during any Budget period or more than ten percent (10%) on a cumulative

 basis for that portion of the Budget period then ended unless Exeter consents, in writing, to the

 variance. The Debtor proposes that any amounts listed in the Budget that are unused in any

 month may be carried over and used by the Debtor in any subsequent month.

          28.     Therefore, the Debtor seeks entry of an order pursuant to Bankruptcy Code

 Sections 361 and 363 and Bankruptcy Rule 4001(b) (a) authorizing the Debtor to use cash

 collateral to pay overhead, operating expenses, and ordinary course obligations necessary to

 maintain and preserve the going-concern value of the Debtor’s assets and business, and to

 administer the estates, including, but not limited to, using cash collateral to pay (i) any

 prepetition operating and other expenses approved by the Court, (ii) the post-petition operations

 of the Debtor’s business, and (iii) all costs and expenses arising in connection with the

 administration of these estates, and (b) granting adequate protection to EXETER.

                                            AUTHORITY

  A. The Post-Petition Credit Facility Should be Authorized

          29.     Approval of the Post-Petition Credit Facility and Amended Credit Agreement

 terms will provide the Debtor with immediate and ongoing access to borrowing availability to

 pay its current and ongoing operating expenses, including post-petition salaries and utility and



 Motion to Approve DIP Financing, Page 10 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02         Page 11 of 21




 vendor costs. Unless these expenditures are made, the Debtor will be forced to cease operations,

 which could result in irreparable harm to its business and substantial going concern value being

 destroyed. The credit provided under the Post-Petition Credit Facility will enable the Debtor to

 continue to pay salaries and operate its business in the ordinary course and in an orderly and

 reasonable manner to preserve and enhance the value of its estate for the benefit of all parties in

 interest. This availability of credit hopefully can provide the Debtor’s vendors and suppliers the

 confidence that will enable and encourage them to restore its credit and/or other relationship with

 the Debtor, or will provide the Debtor with liquidity to afford cash terms to certain extent.

 Accordingly, the timely approval of the relief requested herein is imperative.

          30.     Section 364(c) of the Bankruptcy Code provides, among other things, that if a

 debtor is unable to obtain unsecured credit allowable as an administrative expense under section

 503(b)(1) of the Bankruptcy Code, the court may authorize the debtor to obtain credit or incur

 debt (a) with priority over any and all administrative expenses as specified in sections 503(b) or

 507(b) of the Bankruptcy Code, (b) secured by a lien on property of the estate that is not

 otherwise subject to a lien, or (c) secured by a junior lien on property of the estate that is subject

 to a lien. 11 U.S.C. § 364. Section 364(d)(1) of the Bankruptcy Code provides that the Court

 may authorize a debtor to incur debt secured by a senior or equal lien on property of the estate

 that is subject to a lien only if (a) the debtor is unable to obtain such credit otherwise, and (b)

 there is adequate protection of the interest of the holder of the lien on which such senior or equal

 lien is to be granted. Section 364(d) is not applicable, as EXETER is the senior lender. The

 Debtor proposes to obtain the financing set forth in the Post-Petition Credit Facility by

 providing, inter alia, superpriority claims, security interests, and liens pursuant to sections

 364(c)(l), (2) and (3) of the Bankruptcy Code (the financing under the senior debt facility will




 Motion to Approve DIP Financing, Page 11 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02          Page 12 of 21




 not create a priming situation where one did not previously exist; therefore the Debtor is not

 attempting to obtain financing secured by a senior or equal lien on property that is subject to a

 lien as set forth in Section 364(d)).

          31.     The Debtor’s liquidity needs can be satisfied only if they are authorized to

 borrow funds under the Post-Petition Credit Facility and to use such proceeds to fund operations.

 The Debtor has been unable to procure sufficient financing in the form of unsecured credit

 allowable under section 503(b)(1), as an administrative expense under section 364(a) or (b), in

 exchange for the grant of a superpriority administrative expense claim pursuant to section

 364(c)(1). The Debtor has also been unable to obtain post-petition financing or other financial

 accommodations from any alternative prospective lender or group of lenders on more favorable

 terms and conditions than those for which approval is sought herein that did not require a

 priming fight with EXETER.

          32.     Having determined that financing is available only under sections 364(c) of the

 Bankruptcy Code, the Debtor negotiated with the EXETER at arm’s length. Provided that a

 debtor’s business judgment does not run afoul of the provisions of, and policies underlying, the

 Bankruptcy Code, courts grant a debtor considerable deference in acting in accordance therewith.

 See, e.g., See, e.g, Bray v. Shenandoah Fed. Sav. & Loan Ass'n (In re Snowshoe Co.), 789 F.2d

 1085, 1088 (4th Cir. 1986); In re Ames Dep't Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y.

 1990) (“cases consistently reflect that the court's discretion under section 364 is to be utilized on

 grounds that permit reasonable business judgment to be exercised so long as the financing

 agreement does not contain terms that leverage the bankruptcy process and powers or its purpose

 is not so much to benefit the estate as it is to benefit parties in interest”); see also In re Curlew

 Valley Assocs., 14 B.R. 506, 513-14 (Bankr. D. Utah 1981); In re Simasko Prod. Co., 47 B.R.




 Motion to Approve DIP Financing, Page 12 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16                Entered 08/08/16 05:34:02         Page 13 of 21




 444, 449 (D. Colo. 1985).

          33.     First, the Debtor has been unable to procure the required funding absent the

 proposed claims and liens. The Debtor submits that the circumstances of these cases require the

 Debtor to obtain financing under sections 364(c) and to the extent applicable 364(d) of the

 Bankruptcy Code, and accordingly, the Post-Petition Credit Facility reflects the exercise of

 sound business judgment.

          34.     Second, the Debtor needs the funds to be provided under the Post-Petition Credit

 Facility to preserve the value of its estates for the benefit of all creditors and other parties in

 interest. Specifically, the Debtor needs the funds to be provided under the Post- Petition Credit

 Facility to maintain operations and signal to its suppliers and other vendors that they are credit-

 worthy and that its vendors can and should continue to provide its products to the Debtor on

 substantially the same credit terms as during the pre-petition period. Alternatively, the Debtor

 needs financing to pay ongoing expenses and to procure necessary inventory for servicing

 customers. Absent the Post-Petition Credit Facility and use of the Cash Collateral, the Debtor

 will be unable to operate its business or prosecute these chapter 11 cases, and the Debtor’s

 vendors may refuse to provide the goods (and credit) the Debtor’s business require.

          35.     The terms and conditions of the Post-Petition Credit Facility were negotiated by

 well-represented parties in good faith and at arm’s length, and were the best that the Debtor

 could negotiate, given the fact that the defaults under the Credit Facility EXETER precluded

 additional financing through the Credit Facility. Accordingly, all obligations incurred under the

 Post-Petition Credit Facility should be accorded the benefits of section 364(e) of the Bankruptcy

 Code.

          36.     The proposed Interim Order provides that the automatic stay provisions of



 Motion to Approve DIP Financing, Page 13 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02       Page 14 of 21




 section 362 of the Bankruptcy Code are vacated and modified to the extent necessary to permit

 the Exeter to exercise, upon the occurrence and during the continuation of any Event of Default,

 all rights and remedies provided for in the DIP Facility Agreement, and to take various actions

 without further order of or application to the Court. However, Exeter must provide the Debtor

 and any official committee, with five (5) business days written notice to seek an injunction prior

 to exercising any enforcement rights or remedies in respect of the collateral or upon a shorter

 period of time after notice and a hearing. Therefore the Debtor and official committees reserve

 the right to seek injunctive relief to maintain non-consensual use of cash collateral post-

 termination event (not to force continued lending).

          37.     Stay modification provisions of this sort are ordinary and usual features of DIP

 financing facilities and, in the Debtor’s business judgment, is reasonable under the present

 circumstances. Accordingly, the Court should modify the automatic stay to the extent

 contemplated by the Amended Credit Agreement, the Post-Petition Revolving Facility

 Agreement and the proposed Orders.

                    B.      The Use of Cash Collateral Should be Authorized

           38.    Pursuant to Section 363(c)(2) of the Bankruptcy Code, a debtor in possession

 may not use cash collateral without the consent of the secured party or approval from the Court.

 EXETER has consented to the Debtor’s use of EXETER’s cash collateral in conformity

 with this Motion. Further, section 363(e) provides that “on request of an entity that has an

 interest in property…proposed to be used, sold or leased, by the trustee, the court, with or

 without a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide

 adequate protection of such interest.” 11 U.S.C. § 363(e). The Debtor has satisfied the

 requirements of sections 363(c)(2) and (e), and should be authorized to use the cash collateral.

           39.    For the use of the cash collateral, the Debtor is granting EXETER replacement


 Motion to Approve DIP Financing, Page 14 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 15 of 21




 Pre-Petition Lender Liens (to the extent of any diminution) on Post-Petition Collateral, with such

 Post-Petition Collateral as well to be Collateral for post-petition advances under the Line of

 Credit, in accordance with the Post-Petition Credit Facility. The Debtor believes that such

 replacement liens will adequately protect EXETER for the use of Pre and Post-Petition cash

 collateral.

           40.    The Debtor will also provide EXETER with required weekly reporting of

 financial information relating to projected revenues and expenses, actual revenue and expenses,

 and variances from the Budget, as applicable, as well as reasonable access to, among other

 things, the Debtor’s management, books, and records, including the reporting required under the

 Post- Petition Credit Facility. See, e.g., Mutual Benefit Life Ins. Co. v. Stanley Station Assocs.,

 L.P. (In re Stanley Station Assocs., L.P.), 140 B.R. 806, 809 (D. Kan. 1992) (“In addition, we

 believe the request of MBL for ‘timely filing of proper monthly operating reports…’ falls within

 the ambit of adequate protection…”); Sumitomo Trust & Banking Co. v. Holly's, Inc. (In re

 Holly’s, Inc.), 140 B.R. 643, 706 (Bankr. W.D. Mich. 1992) (reports required as part of adequate

 protection).

           41.    The Debtor submits that the replacement liens and the provision of timely

 collateral adequately protected the interests of Exeter, and the requirements for adequate

 protection under Bankruptcy Code §§ 361 and 363 have been satisfied.

           42.    As the full “roll up” is not to occur unless approved at the final hearing upon this

 motion, the Debtor does not seek as interim relief the approval of the full “roll up” of the pre-

 petition debt into the Amended Credit Agreement. However, failure of this condition would

 result in a termination of the right of the Debtor to (i) use cash collateral under the agreement

 reached with EXETER and (ii) to borrow further under the Amended Credit Agreement.




 Motion to Approve DIP Financing, Page 15 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 16 of 21




     C. The Debtor Requires Immediate Access to Cash Collateral and the DIP Facility.

          43.     Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion

 to use cash collateral pursuant to section 363 of the Bankruptcy Code may not be commenced

 earlier than fourteen (14) days after the service of such motion. Upon request, however, the

 Bankruptcy Court is empowered to conduct a preliminary expedited hearing on the motion and

 authorize the use of cash collateral to the extent necessary to avoid immediate and irreparable

 harm to a debtor’s estate. The Debtor requests that the Bankruptcy Court conduct an expedited

 preliminary hearing on the Motion (the “Preliminary Hearing”) and authorize the Debtor to use

 the Cash Collateral for the 3-week period detailed within the Interim Budget and in accordance

 with the terms of the Interim Order and the Interim Budget (with allowance of a 10% variance as

 to each line item contained within the Interim Budget).

          44.     The Budget itemizes the sources and uses of cash and provides a weekly

 projection of cash receipts and expenditures, and provides a list of reasonable and necessary

 business expenses that must be paid in order to continue the Debtor’s business until a final

 hearing on the Motion can be held. The terms and conditions of the Budget and the proposed

 Interim Order are fair and reasonable, and reflect the exercise of the Debtor’s prudent business

 judgment consistent with the fiduciary duties of a debtor-in-possession.

          45.     The Debtor has an immediate need to use the Cash Collateral, including cash

 proceeds, to continue to operate its business. Without those funds, the Debtor will not be able to

 make cash expenditures for necessary costs incurred during its reorganization, including but

 limited to, wages, salaries, rent, professional fees and other expenses that arise in the

 administration of the bankruptcy cases and in the ordinary course of the Debtor’s business. The

 Debtor has little to no unencumbered cash with which to operate its business – accordingly, if the



 Motion to Approve DIP Financing, Page 16 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02         Page 17 of 21




 Debtor is unable to use the Cash Collateral, the Debtor will be forced to immediately cease

 business operations, which will negatively impact the value of its assets, cause irreparable harm

 to the estate, and eliminate the prospect of unsecured creditors receiving a distribution on

 account of its claims.

          46.     The Cash Collateral that the Debtor proposes to spend in the Interim Budget will

 be in an amount necessary to prevent the Debtor from suffering “immediate and irreparable

 harm” and therefore meets the requirements for interim relief under Bankruptcy Rule 4001(b)(2)

 and 6003.

        D. The Debtor will Provide Adequate Protection of EXETER’s Interest in Cash
                                         Collateral.

          47.     Section 363(e) provides that “on request of an entity that has an interest in

 property used, sold, or leased…by the trustee, the court, without or without hearing, shall

 prohibit or condition such use, sale, or lease as is necessary to provide adequate protection of

 such interest.” 11 U.S.C. § 363(e). The provision governing adequate protection is not subject

 to a debtor’s discretion, and is geared to ensure that a secured party’s economic position is not

 worsened because of the filing of a bankruptcy case. See In re Las Vegas Monorail Co., 429

 B.R. 317 (Bankr. D. Nev. 2012) (“use of the cash it generates in its operations is itself a form of

 adequate protection. This is because [debtor’s] continued investment in, and operation of, the

 [collateral] will increase, or at least maintain, the collateral’s value.”); In re DeSardi, 340 B.R.

 790, 804 (Bankr. S.D. Tex. 2006); In re Ralar Distribs., Inc., 166 B.R. 3, 6 (Bankr. D. Mass.

 1994) (“[a]ctivities of a debtor can enhance collateral value and thereby provide adequate

 protection”).

          48.     Although the Bankruptcy Code does not provide an all-encompassing definition

 of what constitutes adequate protection, section 361 provides a non-exhaustive list of factors that


 Motion to Approve DIP Financing, Page 17 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 18 of 21




 may constitute adequate protection. A determination of adequate protection is decided on a case-

 by-case basis, and involves a consideration of the “nature of the creditor’s interest in the

 property, [and] the potential harm to the creditor as a result of the property’s decline in value of

 the method of protection.” In re Braniff Airways, Inc., 783 F.2d 1283, 1286 (5th Cir. 1986).

          49.     Exactly what constitutes adequate protection must be decided on a case-by-case

 basis. In re Energy Partners, Ltd., 409 B.R. 211, 236 (Bankr. S.D. Tex. 2009) (citing In re

 O’Connor, 808 F.2d 1393, 1396 (10th Cir. 1987). Adequate protection preserves the status quo

 for secured creditors. In re Good, 428 B.R. 235, 241 -242 (Bankr. E.D. Tex. 2010). Adequate

 protection exists by virtue of augmentation (or preservation) of the value of a secured creditor’s

 collateral. See, In re Ralar Distribs., Inc., 166 B.R. 3, 6 (Bankr. D. Mass. 1994) (“[a]ctivities of

 a debtor can enhance collateral value and thereby provide adequate protection”); In re Pursuit

 Athletic Footwear, Inc., 193 B.R. 713, 716-17 (Bankr. D. Del. 1996) (court found secured

 creditor was adequately protected given lack of evidence that collateral was diminishing, debtor

 had operated profitably and was projected to continue operating profitably).

          50.     First, the Debtor proposes to adequately protect the interest of all secured

 creditors, including the Exeter, in several different ways. The Debtor will maintain DIP bank

 accounts and deposit all post-petition Cash Collateral into such accounts to be utilized only for

 the normal and necessary costs of business and administration of the bankruptcy estate pursuant

 to the Interim Order.

          51.     Second, the Debtor will maintain adequate assurance coverage and operational

 production in relation to the prepetition collateral and timely pay all post-petition taxes assessed

 in relation to the prepetition collateral in the ordinary course of the Debtor’s business, thereby

 keeping the properties free of additional liens.



 Motion to Approve DIP Financing, Page 18 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16               Entered 08/08/16 05:34:02         Page 19 of 21




          52.     Third, the Debtor proposes to grant EXETER replacement liens upon: (i) all

 assets in which EXETER holds a validly perfected lien as of the Petition Date; (ii) all property

 acquired after the Petition Date that is of the exact nature, kind or character of the Pre-petition

 Collateral; and (iii) all cash and receivables that are the proceeds, products, offspring, or profits

 of the Pre-petition Collateral. The Debtor further proposes to grant EXETER first priority liens

 and security interests in avoidance actions under chapter 5 of the Bankruptcy Code. The Debtor

 anticipates that the aforementioned first priority liens and security interests will adequately

 protect the EXETER from any diminution in the value of its interest in its collateral resulting

 from the use of the Cash Collateral. In re First Douth Sav., Ass’n, 820 F.2d 700, 710 (5th Cir.

 1987) (granting a creditor replacement liens to the extent of diminution in the value of its

 security interest constitutes adequate protection under section 361).

          53.     Furthermore, the Debtor will provide Exeter with accurate and detailed

 information relating to projected revenues and expenses, actual revenues and expenses, and

 variances from the Budget – all of which will enable Exeter to monitor the use of the pre-petition

 collateral and Post-Petition Cash Collateral. Provision of financial reports can constitute a valid

 form of adequate protection. Mutual Benefit Life Ins. Co. v. Stanley Station Assoc’s, L.P. (In re

 Stanley Station Assoc’s, L.P.), 140 B.R. 806, 809 (D. Kan. 1992) (“In addition, we believe that

 the request…’for timely filing of proper operating reports…’ falls within the ambit of adequate

 protection…”).

          54.     The Debtor submits that Exeter’s interests are adequately protected, and the

 requirements for adequate protection under Bankruptcy Code §§ 363 and 364(d)(1) have been

 satisfied.

                                INTERIM RELIEF REQUESTED




 Motion to Approve DIP Financing, Page 19 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16              Entered 08/08/16 05:34:02         Page 20 of 21




          55.     The Debtor believes that the relief sought in this Motion is critical to achieving a

 smooth transition towards operation as chapter 11 debtor, and will help preserve the Debtor’s

 going-concern value. The interim relief requested herein, including use of Cash Collateral, and

 including, on an interim basis, use of the Post-Petition Revolving Facility during the interim

 period and prior to entry of a Final Order, is necessary to avoid immediate and irreparable harm.

 Accordingly, the Debtor requests immediate entry of an Interim Order to be submitted in open

 court, pursuant to Bankruptcy Code §§ 363 and 364 and Bankruptcy Rule 4001(b)(2) and (c)(2).

                                                  NOTICE

          56.     Notice of this Motion has been given to all parties on the Special Notice List,

 including, without limitation: (i) the Office of the United States Trustee; (ii) the Debtor and its

 counsel; (iii) EXETER International, LLC; (iv) the twenty (20) largest unsecured creditors of the

 Debtor; and (v) governmental agencies having a regulatory or statutory interest in these cases. In

 light of the nature of the relief requested herein, the Debtor submits that no other or further

 notice is necessary.

                                      CONCLUSION

          The Debtor respectfully requests that this Bankruptcy Court enter an order: (i)

 authorizing the Debtor to obtain post-petition financing as detailed herein pursuant to 11 U.S.C.

 §§364(c) and to the extent applicable 364(d); (ii) authorizing the Debtor to use the Cash

 Collateral pursuant to 11 U.S.C. § 363(c) on an interim basis in accordance with the terms and

 conditions set forth within this Motion, the Budget, and the Interim Order; (iii) granting adequate

 protection pursuant to 11 U.S.C. § 361 as contemplated by this Motion; (iv) scheduling a final

 hearing on the Motion on a date that is not earlier than 15 days following the filing of this

 Motion; and (iv) granting such other and further relief as is just and proper.



 Motion to Approve DIP Financing, Page 20 of 21
Case 16-43070-mxm7 Doc 10 Filed 08/08/16                Entered 08/08/16 05:34:02       Page 21 of 21




                                                  Respectfully submitted,


                                                  /s/ Richard W. Ward
                                                  Richard W. Ward
                                                  Texas Bar no. 20846350
                                                  6860 N. Dallas Pkwy., Ste. 200
                                                  Plano, TX 75024
                                                  Telephone: 214-220-2402
                                                  Facsimile: 972-499-7240
                                                  Email: rwward@airmail.net
                                                  Proposed Attorney for the Debtor in Possession




 Motion to Approve DIP Financing, Page 21 of 21
